






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00111-CR







George Walter Prayer aka George Walter Prayer, Jr., Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT


NO. 62174, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



George Walter Prayer seeks to appeal a judgment of conviction for tampering with
evidence.  The trial court has certified that this is a plea bargain case and Prayer has no right of
appeal.  The appeal is dismissed.  See Tex. R. App. P. 25.2(a)(2), (d).



				__________________________________________

				G. Alan Waldrop, Justice

Before Chief Justice Law, Justices Pemberton and Waldrop

Dismissed for Want of Jurisdiction

Filed:   March 18, 2008

Do Not Publish


